                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                           Civil Case No. 5:22-cv-00321-BO

 JAMES COLEMAN, on behalf of himself
 and all others similarly situated,

                 Plaintiff,

        v.

 HUMANA INC.,

                 Defendant.


             PLAINTIFF’S MOTION TO ALTER OR AMEND JUDGMENT AND
                FOR LEAVE TO FILE SECOND AMENDED COMPLAINT

       Pursuant to Federal Rules of Civil Procedure 59(e) and 15(a), Plaintiff James Coleman

moves the Court to alter or amend the judgment of May 16, 2023, and for leave to file an amended

complaint. As is set forth more fully in the memorandum of law being filed contemporaneously

herewith, Plaintiff’s proposed amended complaint removes the defects that were the basis for the

Court’s prior dismissal, and alteration of the judgment, and allowance of amendment of the

complaint, are authorized by relevant precedent, including Hart v. Hannover County Sch. Bd., 595

F. App’x 314 (4th Cir. 2012); Katyle v. Penn Nat’l Gaming, Inc., 637 F.3d 462 (4th Cir. 2011); and

Laber v. Harvey, 438 F.3d 404 (4th Cir. 2006).

                                                 Respectfully submitted,

Dated: May 30, 2023                               s/ Craig Shapiro
                                                  Craig Shapiro (State Bar # 48887)
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                                                  LR 83.1(d) Counsel for Plaintiff




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                              s/ Max S. Morgan___________
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                                CERTIFICATE OF SERVICE
       I hereby certify that on May 30, 2023, I filed the foregoing document using the Court’s
CM/ECF system, which will send a notice of electronic filing to all parties of record.


                                                     By:    /s Craig M. Shapiro
                                                            Craig M. Shapiro




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